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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

VICTORIA DIVISION

)

STATE OF TEXAS, STATE OF )
LOUISIANA )
)

Plaintiffs, )

Vv. ) No. 6:21-cv-00016

)

UNITED STATES OF AMERICA, et al. J
)

Defendants. )

)

DECLARATION OF REBECCA WALTZ

My name is Rebecca Waltz, and I am over the age of 18 and fully competent in all respects
to make this declaration. I have personal knowledge and expertise of the matters herein stated.

1. I am the Budget Director for the Texas Department of Criminal Justice. ‘The Texas
Department of Criminal Justice (TDCJ) is the state agency responsible for the care, custody, and
rehabilitation of persons convicted of a criminal offense in the state of Texas.

2. I have been employed with TDC] since June 2004, and I have served in my current
position since January 2020. Prior to that, I served as TDCJ’s Deputy Budget Director from
December 2017 to December 2019, a Senior Budget Analyst from October 2007 to November
2017, and a Junior Budget Analyst from September 2004 to September 2007.

3. The Bureau of Justice Assistance (BJA) administers the State Criminal Alien
Assistance Program (SCAAP) in conjunction with the U.S. Immigration and Customs
Enforcement (ICE), Department of Homeland Security (OHS). SCAAP provides federal payments
to states and localities that incurred correctional officer salary costs for incarcerating

undocumented criminal aliens with at least one felony or two misdemeanor convictions for

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violations of state or local law, and incarcerated for at least 4 consecutive days during the reporting
period.

4. As a part of my employment with TDCJ, I am responsible for compiling the data
to be included in TDCIJ’s application for federal reimbursement to the State Criminal Alien
Assistance Program. These data sets include the number of correctional officers and their salary
expenditures ( correctional officer is defined as a person whose primary employment responsibility
is to maintain custody of individuals held in custody in a correctional facility) for the reporting
period, information regarding maximum bed counts and inmate days, and information about the
eligible inmates - (1) whom the agency incarcerated for at least four consecutive days during the
reporting period; and (2) who the agency knows were undocumented criminal aliens, or reasonably
and in good faith believes were undocumented criminal aliens.

5. TDCJ has sought reimbursement from the federal government through SCAAP
since 1998.

6. For the most recently completed SCAAP application (reporting period of July 1,
2018, through June 30, 2019), TDCJ reported data for 8,893 eligible inmates and a total of
2,385,559 days. An estimate of the cost of incarceration for these inmates can be calculated by
multiplying the systemwide cost per day per inmate for Fiscal Year 2020 ($69.27) as reported by
the Texas Legislative Budget Board by the number of days. For example ($69.27 x 2,385,559
days = $165,247,672).

7. SCAAP awards have not been distributed yet for this application period.

8. It is my belief that to the extent the number of aliens in TDCJ custody increases,

TDCI’s unreimbursed expenses will increase as well.

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9, TDCI incurs costs of housing, supervising, and providing health care to individuals
whose detainers are canceled by federal immigration authorities. When those individuals are on
parole or mandatory supervision, TDCJ incurs costs. Keeping detainees in TDCJ custody, or
adding them to parole or mandatory supervision, who could have otherwise been detained and/or
removed by federal immigration authorities, imposes greater burdens on the system. An estimate
of the cost of parole or mandatory supervision for these inmates can be calculated by multiplying
the average cost per inmate for active parole supervision for Fiscal Year 2020 ($4.64) as reported
by the Texas Legislative Budget Board by the number of days. For example ($4.64 x 2,385,559
days = $11,068,994),

10. —_ All of the facts and information contained within this declaration are within my

personal knowledge and are true and correct.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Executed on this 6th day of January 2022. Y, yy Lh,

REBECCA WALTZ

